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AQ 442 (Rev LUTL) Arrest Warrant AD I’ Y > j 7 :

UNITED STATES DISTRICT COURT

LS, MARSHAL -DC p¥1:26 for the
fa : 5
RECEIVED JAN 7°21 District of Columbia
United States of America Case: 1-21-m}-00007
ue ) assigned to: Judge G. Michael Harvey
MARK LEFFINGWELL ) Assign Date: 1/7/2021
) Description: COMPLAINT W/ARREST WARRANT
)
)
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

frame of person to be arrested) © MARK LEFFINGWELL ’
who is accused of an offense or violation based on the following document filed with the court:

O Indictment © Superseding Indictment QO Information O Superseding Information @ Complaint
0} Probation Violation Petition CI Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. 1752 (a)(1)- Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority
18 U.S.C. 115 (a}(1}(A)- Assault on a Federal Law Enforcement Officer

40 U.S.C. 5104(2)(2)- Violent Entry and Disorderly Conduct on Capitol Grounds

Digitally signed by G. Michael
Harvey
Date: 2021.01.07 12:51:23 -05'00'

 

 

 

Date: 01/07/2021
issning officer's signature
City and state: Washington, DC G. MICHAEL HARVEY, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) th/ 10 d | . and the person was atrested on date) UU/ PAL. |
al fcity and state) Waahias hon tc . feces

Date: /7/ Ja \ ,
(ve hal S Signature
hers fegher Schucts ler pusm

Printed name and title

 

 
